 Case 19-25410-VFP                       Doc 19 Filed 11/17/19 Entered 11/18/19 00:47:48                             Desc Imaged
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Information to identify the case:
Debtor 1
                       Karin A. Weinraub                                           Social Security number or ITIN   xxx−xx−4321
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of New Jersey

Case number:          19−25410−VFP

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Karin A. Weinraub


             11/15/19                                                      By the court: Vincent F. Papalia
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-25410-VFP
Karin A. Weinraub                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 15, 2019
                                      Form ID: 318                       Total Noticed: 15


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 17, 2019.
db             +Karin A. Weinraub,   802 Albermarle Street,   Wyckoff, NJ 07481-1073
cr             +Nationstar Mortgage LLC d/b/a Mr. Cooper,   Stern, Lavinthal & Frankenberg, LLC,
                 105 Eisenhower Parkway,   Suite 302,   Roseland, NJ 07068-1640
cr             +Nationstar Mortgage LLC d/b/a Mr. Cooper as servic,    Stern Lavinthal and Frankenberg,
                 105 Eisenhower Parkway,   Suite 302,   Roseland, NJ 07068-1640
518399074      +Bank of America,   c/o Drew, Eckl & Farnham, LLP,   235 Peachtree St. NE, Ste. 1900,
                 Atlanta, GA 30303-1417
518399079      +Mr. Cooper,   8950 Cypress Waters Blvd.,    Coppell, TX 75019-4620
518399082      +c/o Drew, Eckl & Franham, LLP,   235 Peachtree St. NE,    Suite 1900,   Atlanta, GA 30303-1417

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Nov 16 2019 01:25:57      U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Nov 16 2019 01:25:53       United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,   One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
cr             +EDI: RMSC.COM Nov 16 2019 05:53:00      Synchrony Bank c/o PRA Receivables Management, LLC,
                 PO BOX 41021,   Norfolk, VA 23541-1021
518399075      +EDI: TSYS2.COM Nov 16 2019 05:53:00      Bloomingdales,   9111 Duce Blvd.,
                 Mason, OH 45040-8999
518399076      +EDI: WFNNB.COM Nov 16 2019 05:53:00      Comenity Bank,   P.O. Box 182273,
                 Columbus, OH 43218-2273
518399077       E-mail/Text: bncnotices@becket-lee.com Nov 16 2019 01:25:18      Kohls,
                 N56 W 1700 Ridgewood Dr,    Menomonee Falls, WI 53051
518399078      +EDI: TSYS2.COM Nov 16 2019 05:53:00      Macy’s/DSNB,   P.O. Box 8218,    Mason, OH 45040-8218
518399081       EDI: PRA.COM Nov 16 2019 05:53:00      Portfolio Recovery Associates,
                 120 Corporate Blvd. Ste. 1,    Norfolk, VA 23502
518400315      +EDI: RMSC.COM Nov 16 2019 05:53:00      Synchrony Bank,   c/o of PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
518399080*       +Mr. Cooper,   8950 Cypress Waters Blvd.,   Coppell, TX 75019-4620
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 17, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 15, 2019 at the address(es) listed below:
              John P. Fazzio   on behalf of Debtor Karin A. Weinraub jfazzio@fazziolaw.com,
              Maria Cozzini    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper
               mcozzini@sternlav.com
              Maria Cozzini    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for
               Federal National Mortgage Association mcozzini@sternlav.com
              Steven P. Kartzman   on behalf of Trustee Steven P. Kartzman kartztee@optonline.net,
               jzapata@msklaw.net;nj16@ecfcbis.com;jloewenstein@msklaw.net
              Steven P. Kartzman   kartztee@optonline.net,
               jzapata@msklaw.net;nj16@ecfcbis.com;jloewenstein@msklaw.net
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 6
